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                                         United States District Court
                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             SACR 15-00147-JLS

 Defendant            ALAN C. IVAR                                           Social Security No. 0          2     8     0

 akas:    Alan Craig Ivar                                                    (Last 4 digits)

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH    DAY    YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         06       08     2018


 COUNSEL                                                  Wayne Gross and Adam Sechooler, Retained Counsel
                                                                             (Name of Counsel)

    PLEA              X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                 NOT
                                                                                                                CONTENDERE             GUILTY
  FINDING             There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                       18 U.S.C. § 371: Conspiracy
JUDGMENT              The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/             contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM                that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to
  ORDER               the custody of the Bureau of Prisons to be imprisoned for a term of:




It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately.
Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

It is ordered that the defendant shall pay to the United States a total fine of $150,000, which shall bear interest as provided
by law.

The fine shall be paid within 90 days of this judgement.

Pursuant to 18 U.S.C. § 3664(d)(5), the determination of restitution is deferred until June 29, 2018 at 11:30 a.m. An
amended judgment will be entered after such determination.

The defendant shall comply with General Order No. 01-05.

The Court recommends that the Bureau of Prisons conduct a medical and mental health evaluation of the defendant and
provide all necessary treatment.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Alan C. Ivar, is hereby
committed on the Single-Count Information to the custody of the Bureau of Prisons for a term of 12 months and 1 day.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three (3) years under
the following terms and conditions:


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              1. The defendant shall comply with the rules and regulations of the United States Probation Office, General
                 Order 05-02, and General Order 01-05, including the three special conditions delineated in General Order
                 01-05.

              2. During the period of community supervision, the defendant shall pay the special assessment and fine in
                 accordance with this judgment's orders pertaining to such payment.

              3. The defendant shall cooperate in the collection of a DNA sample from the defendant.

              4. The defendant shall not be employed by, affiliated with, own, control, volunteer for, or otherwise
                 participate, directly or indirectly, in any business involving federally funded or state funded health
                 insurance or entitlement programs without the express written approval of the Probation Officer prior to
                 engaging in such employment. Further, the defendant shall provide the Probation Officer with access to
                 any and all business records, client lists, and other records pertaining to the operation of any business
                 owned, in whole or in part, by the defendant, as directed by the Probation Officer.

              5. The defendant shall report this conviction to the California Department of Consumer Affairs, and to any
                 other state in which the defendant has been licensed as a chiropractor, and thereafter comply with any
                 orders, including any employment or business restrictions. Further, the defendant shall show proof to the
                 Probation Officer of compliance with this order.

              6. The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance,
                 judgments and any anticipated or unexpected financial gains to the outstanding Court-ordered financial
                 obligation.

It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons at or before
12 noon, on December 10, 2018. In the absence of such designation, the defendant shall report on or before the same date
and time, to the United States Marshal located at the United States Court House, 411 West Fourth Street, Santa Ana,
California 92701-4516.

It is recommended that the Bureau of Prisons designate confinement of defendant to a facility near Las Vegas, Nevada
in order for defendant to maintain the support of his family.

The drug testing condition mandated by statute is suspended based on the Court's determination that the defendant poses
a low risk of future substance abuse.

Defendant is informed of the right to appeal.

It is ordered that the bond is exonerated upon surrender and not before, with pretrial services conditions to remain in
effect.




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 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            June 8, 2018
            Date                                                  U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




            June 8, 2018                                    By    Terry Guerrero
            Filed Date                                            Deputy Clerk




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 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant shall not commit another Federal, state or local crime;     10.   the defendant shall not associate with any persons engaged in
 2.    the defendant shall not leave the judicial district without the written           criminal activity, and shall not associate with any person convicted
         permission of the court or probation officer;                                   of a felony unless granted permission to do so by the probation
 3.    the defendant shall report to the probation officer as directed by the            officer;
         court or probation officer and shall submit a truthful and complete     11.   the defendant shall permit a probation officer to visit him or her at
         written report within the first five days of each month;                        any time at home or elsewhere and shall permit confiscation of any
 4.    the defendant shall answer truthfully all inquiries by the probation              contraband observed in plain view by the probation officer;
         officer and follow the instructions of the probation officer;           12.   the defendant shall notify the probation officer within 72 hours of
 5.    the defendant shall support his or her dependents and meet other                  being arrested or questioned by a law enforcement officer;
         family responsibilities;                                                13.   the defendant shall not enter into any agreement to act as an informer
 6.    the defendant shall work regularly at a lawful occupation unless                  or a special agent of a law enforcement agency without the
         excused by the probation officer for schooling, training, or other              permission of the court;
         acceptable reasons;                                                     14.   as directed by the probation officer, the defendant shall notify third
 7.    the defendant shall notify the probation officer at least 10 days prior           parties of risks that may be occasioned by the defendant’s criminal
         to any change in residence or employment;                                       record or personal history or characteristics, and shall permit the
 8.    the defendant shall refrain from excessive use of alcohol and shall               probation officer to make such notifications and to conform the
         not purchase, possess, use, distribute, or administer any narcotic or           defendant’s compliance with such notification requirement;
         other controlled substance, or any paraphernalia related to such        15.   the defendant shall, upon release from any period of custody, report
         substances, except as prescribed by a physician;                                to the probation officer within 72 hours;
 9.    the defendant shall not frequent places where controlled substances       16.   and, for felony cases only: not possess a firearm, destructive device,
         are illegally sold, used, distributed or administered;                          or any other dangerous weapon.




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   X The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be
 subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are
 not applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

          The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in
 the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18
 U.S.C. §3563(a)(7).

           Payments shall be applied in the following order:

                      1. Special assessments pursuant to 18 U.S.C. §3013;
                      2. Restitution, in this sequence (pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                      5. Other penalties and costs.

                                SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

          The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
 proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts,
 including any business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal




                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date



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